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10
                       IN THE UNITED STATES DISTRICT COURT
11
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
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14
15   JOSE ANTHONY BORJA,                        Case No. CV 09-2420-DDP (SS)
16                                Petitioner, NOTICE OF LODGING
17               v.
18
     MATTHEW CATE, CDCR
19   SECRETARY
20                              Respondent.
21
             Respondent hereby lodges with the Court for consideration in these
22
     proceedings copies of the following documents:`
23
             A. Petitioner’s Opening Brief in People v. Jose Anthony Borja, California
24
     Court of Appeal case number B193163.
25
             B. Petitioner’s Supplemental Opening Brief in People v. Jose Anthony
26
     Borja, California Court of Appeal case number B193163.
27
             C. Respondent’s Brief in People v. Jose Anthony Borja, California Court of
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                                       #:99


 1   Appeal case number B193163.
 2              D. Petitioner’s Reply Brief in People v. Jose Anthony Borja, California
 3   Court of Appeal case number B193163.
 4              E. Respondent’s Letter Brief in People v. Jose Anthony Borja, California
 5   Court of Appeal case number B193163.
 6              F. Petitioner’s Letter Brief in People v. Jose Anthony Borja, California
 7   Court of Appeal case number B193163.
 8              G. California Court of Appeal’s Opinion in People v. Jose Anthony Borja,
 9   California Court of Appeal case number B193163.
10              H. Petitioner’s Petition for Review in People v. Jose Anthony Borja,
11   California Supreme Court case number S157335.
12              I. California Supreme Court’s Order in People v. Jose Anthony Borja,
13   California Supreme Court case number S157335.
14              J. Petitioner’s Abstract of Judgment, filed February 19, 2008; Minute
15   Order in People v. Jose Anthony Borja, Los Angeles County Superior Court case
16   number KA073052, dated February 6, 2008.
17              K. Clerk’s Transcript in People v. Jose Anthony Borja, California Court of
18   Appeal case number B193163: Two Volumes (excluding confidential probation
19   report).
20              L. Reporter’s Transcript in People v. Jose Anthony Borja, California Court
21   of Appeal case number B193163: Three Volumes.
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 1             Because these lodged documents are copies, Respondent does not request
 2   that they be returned.
 3   Dated: July 22, 2009                       Respectfully submitted,
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                                                /s/ David E. Madeo____
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